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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

VOTING RIGHTS DEFENSE PROJECT, et Case No, C-16-02739
al.,

DECLARATION OF CLARA DAIMS
Plaintiffs,
v.

ALEX PADILLA, et al.,

Defendants.

I, CLARA DAIMS, declare:
|. Tam a plaintiff in this action.
2, [ama registered no party preference voter. I reside in the City and County of San

Francisco.

DECLARATION OF CLARA DAIMS

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. lam personally aware that ballot stations sometimes run out of ballots. On

information and belief, | understand that there are ten sets of ballots: The six parties,
the nonpartisan ballot, and the three NPP sets that are Democrat, American
Independent, and Libertarian. I also have been informed that the ballots that run out
first are the ones marked as NPP/Democrat. That could also make it difficult or
impossible to vote for Bernie Sanders. My plan is to vote early just to make sure that

there are not any problems.

. Lam also concerned because I have seen what appears to be an official circular form

the City and County of San Francisco Department of Elections, a copy of which is
attached as Exhibit 1. This circular states “to request a ballot that includes the
presidential primary contest of one of these parties, mark the name of the party on the
attached postage-paid postcard, and sign and return the postcard no later than April
18. If you do not request the ballot of one of these parties, your ballot will not

include a contest for President.”

. [believe that this is an error, because I have been informed that | am properly

registered and that I can request an application to vote by mail until May 31. But it is

unnerving, and puts the whole integrity of the voting process in question for me.

. My concern is deepened by being informed that the right to vote NPP was not

provided as required by law on some of the applications to vote by mail distributed by
the Department of Elections, San Francisco County, as well as the Registrar of Voters

of Alameda County and a number of other boards of elections in this state.

. These errors convinced me that my ability to vote for Bernie Sanders is in jeopardy.

DECLARATION OF CLARA DAIMS 2

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I declare under penalty of perjury that the foregoing is true and correct and of my own
personal knowledge, except where it is stated on information and belicf, and as to

those matters T believe them to be true. _
THE CiTY AND COUNTY OP SAN FRi

Executed on MAY 24 __,2016,in_ (city) _, (county), __ (state).
THE STATE OF CALIFORNIA
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DECLARATION OF CLARA DAIMS 3

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